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 6                   UNITED STATES DISTRICT COURT
                IN THE SOUTHERN DISTRICT OF CALIFORNIA
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 9   STEPHANIE STEVENS-KAHN,                  Case No.: 3:21-cv-01515-BTM-MSB
10               Plaintiff,
11                                            ORDER GRANTING JOINT
           v.                                 MOTION OF DISMISSAL WITH
12
                                              PREJUDICE
13
14   CAPITAL ONE BANK (USA), N.A.,
15               Defendant.
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18         Upon review of the Parties’ Joint Motion of Dismissal with Prejudice and
19
      good cause appearing,
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21          IT IS ORDERED that the Joint Motion is GRANTED.
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           The above-entitled matter is hereby dismissed with prejudice.
23
24          IT IS SO ORDERED.
25
26
27   December 9, 2021
     Dated                                       Honorable Barry Ted Moskowitz
28
                                                 United States District Judge
